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 4

 5   Attorney for Ariana Diaz
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 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        Case No. 16-CR-134 KJM
12                      Plaintiff,                    STIPULATION AND [PROPOSED]
                                                      ORDER TO MODIFY CONDITIONS OF
13          v.                                        PRETRIAL RELEASE
14   Ariana Diaz,
15                      Defendant.
16

17          Defendant Ariana Diaz, by and through her counsel, Dustin D. Johnson, and Assistant

18   United States Attorney Amanda Beck hereby agree to modify the terms of Ms. Diaz’s pretrial

19   release conditions by deleting condition number 8, the drug testing condition. The parties also

20   agree to a temporary extension of Ms. Diaz’s curfew on Thanksgiving.

21          Ariana Diaz has been under supervision since December 2016. She has been subject to

22   random drug testing (twice a month). Ms. Diaz has never tested positive for any illegal

23   substances. Pretrial Services is recommending her drug testing condition be terminated/removed.

24          In order to permit, Ms. Diaz to spend Thanksgiving with family. The parties also stipulate

25   to a temporary extension of Ms. Diaz’s curfew on Thanksgiving, November 23, 2017, to 10pm.

26   She is required to spend that additional time at her aunt’s home, the address of which has been

27   provided to Pretrial Services.

28          All of the other conditions of her supervised release shall remain in effect.
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 1         Supervising Pretrial Services Officer Darryl Walker has no opposition.
 2

 3   Dated: November 20, 2017                          Respectfully submitted,
 4                                                     /s/ Dustin D. Johnson
                                                       Dustin D. Johnson
 5                                                     Counsel for Ariana Diaz
 6   Dated: November 20, 2017                          PHILLIP TALBERT
                                                       United States Attorney
 7
                                                       /s/ Amanda Beck (approved via email)
 8                                                     Amanda Beck
                                                       Assistant U.S. Attorney
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11   SO ORDERED:
12   Dated: November 21, 2017
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